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                 Exhibit 11
     Declaration of Mike Steinberg
            (Jul. 17, 2023)
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     UNITED STATES DISTRICT COURT, DISTRICT OF
                     MONTANA
                  BUTTE DIVISION

THE IMPERIAL SOVEREIGN COURT
OF THE STATE OF MONTANA; ADRIA
JAWORT; RACHEL CORCORAN; THE
MONTANA BOOK COMPANY; IMAGINE
BREWING COMPANY, LLC d/b/a                        Cause No. CV 23-50-BU-
IMAGINE NATION BREWING                                    BMM
COMPANY; BUMBLEBEE AERIAL
FITNESS; MONTANA PRIDE; THE
WESTERN MONTANA COMMUNITY                         Declaration of Mike
CENTER; THE GREAT FALLS LGBTQ+                    Steinberg, Executive
CENTER; THE ROXY THEATER; and                     Director of the Roxy
THE MYRNA LOY,                                          Theater

                       Plaintiffs,
            vs.

AUSTIN KNUDSEN; ELSIE ARNTZEN;
J.P. GALLAGHER; and the CITY OF
HELENA,

                       Defendants.
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I, Mike Steinberg, declare as follows:

1.   I serve as the Executive Director of the Roxy Theater, 718 South

     Higgins Ave., Missoula, Montana 59801.

2.   The Roxy Theater is a nonprofit, community owned theater

     located in downtown Missoula, Montana.

3.   The Roxy Theater receives funding from the Montana Arts

     Council, a state agency funded by the State of Montana.

4.   The Roxy Theater hosts screenings and events seven days a week

     including new releases nightly and a monthly calendar of

     independent, foreign and classic films, theater, and community

     events.

5.   The Roxy Theater’s mission is to make the world a better place

     through the power of cinema, education, and community.

6.   In 2022, the Roxy Theater was named the Downtown Business of

     the Year by the Missoula Downtown Business Association for its

     “extreme creativity in programming through the pandemic as well

     as its powerful return to in-person movies.”

7.   In 2022, the Roxy Theater screened 454 unique titles and had

     51,911 people attend its films and special events.


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8.    The Roxy Theater has historically displayed films and events that

      appear to be “sexually oriented performances” under HB 359.

9.    The Roxy Theater continues to display films and events that

      appear to be “sexually oriented performances” under HB 359.

10.   HB 359 appears to prohibit sexually oriented performances at the

      Roxy Theater because the Roxy Theater is “owned by an entity

      that receives any form of funding from the state.”

11.   The Roxy Theater authorizes on-premises consumption of

      alcoholic beverages. Specifically, the Roxy Theater sells beer and

      wine to attendees over the age of 21.

12.   Because the Roxy Theater shows “sexually oriented performances”

      to crowds of larger than two people and authorizes the

      consumption of alcohol, the Roxy Theater appears to be a

      “sexually oriented business” under HB 359, despite the plain

      meaning of those words being unrelated to the purpose of our

      organization.

13.   This upcoming week, the Roxy Theater will show the film Asteroid

      City.

14.   Asteroid City is a Motion Picture Association rated PG-13 film.



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15.   Asteroid City is about children scientists forced to quarantine

      during a stargazer convention.         In one scene Actress Scarlett

      Johansson disrobes and steps into a bathtub. This scene appears

      to meet HB 359’s definition of “stripping” and thus “sexually

      oriented performance.”

16.   In   accordance    with    Motion      Picture    Association   ratings

      requirements, the Roxy Theater will show Asteroid City to a

      general audience with no age restrictions.

17.   Showing Asteroid City to a general audience with no age

      restrictions appears to violate HB 359, given that the film is a

      sexually oriented performance and the Roxy Theater receives

      state funds and/or is a sexually oriented business.

18.   This upcoming week, the Roxy Theater will show the film No Hard

      Feelings.

19.   No Hard Feelings is a Motion Picture Association rated R film.

20.   No Hard Feelings depicts a coming-of-age comedy featuring

      Academy Award-winning actress Jennifer Lawrence. In one scene

      Jennifer    Lawrence’s    “buttocks”     and     “female   breast”   are

      purposefully exposed, including “below a point immediately above



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      the top of the areola.” This scene appears to meet HB 359’s

      definition of “sexually oriented performance.”

21.   In   accordance    with    Motion    Picture     Association   ratings

      requirements, the Roxy Theater will show No Hard Feelings to

      attendees 17 years old or older, and/or attendees under 17

      accompanied by a parent or guardian of 21 years old or over.

22.   Showing No Hard Feelings to attendees 17 years old or older,

      and/or attendees under 17 accompanied by a parent or guardian of

      21 years old or over appears to violate HB 359, given that the film

      is a sexually oriented performance and the Roxy Theater receives

      state funds and/or is a sexually oriented business.

23.   In June of 2023, the Roxy Theater hosted Montana’s first

      LQBTQ+ film festival, titled “Queerwest Film Fest.”

24.   The Roxy Theater’s goal in hosting Queerwest Film Fest is to

      illuminate the lives, adventures, and pain of LGBTQ+ people

      living under the majesty, power, and complicated history of the

      American West.




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25.   Queerwest was a three-day event featuring live events, a block of

      shorts from filmmakers around the world, and several feature

      films, including the made-in-Montana Please Baby Please.

26.   As part of Queerwest, the Roxy Theater hosted a drag show which

      included ten performers, both drag queens and drag kings.

27.   The Queerwest drag show was presented to a packed house—

      selling out a theater of 66 attendees with no age limit.

28.   The drag performers demonstrated their art form through both

      dance and comedy routines, some of which included the stripping

      of outer layers of clothing and the use of prosthetic breasts. There

      was no nudity by conventional definition at the event, nor was

      there exposure of prosthetic nipples.

29.   The Roxy Theater intends to host Queerwest again in the future,

      but HB 359 appears to prohibit many of the films and events that

      are integral to Queerwest, including the drag show.

30.   The Roxy Theater also hosts and employs transgender persons

      and drag queens and drag kings that perform educational events

      through the theater.




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31.   The Roxy Theater hosts a monthly series entitled “Out at the

      Roxy,” where LGBTQ+ pride is celebrated. This series has led

      “legislative talk backs” and Q&A sessions with drag queens, and it

      critically evaluates and appreciates media that portrays LGBTQ+

      persons and events.

32.   The Roxy Theater intends to continue to host “Out at the Roxy”

      monthly, and the next series installment is scheduled for July

      24th, with a showing of the 1953 film Glen or Glenda? which will

      be open to a general audience.

33.   Though it was developed as an exploitation film, Out at the Roxy

      intends to display Ed Wood’s Glen or Glenda? because it is, for its

      time, an astonishingly sympathetic portrayal of cross-dressing and

      gender nonconformity. Nominally resembling an educational reel,

      the film relates the stories of Glen, who struggles to tell his

      fiancée that he covets her angora sweaters, and a GI who

      undergoes reassignment surgery, but Wood conveys this narrative

      in a style bizarre beyond measure.

34.   Glen or Glenda? includes a scene involving what would appear to

      be “stripping” under HB 359.



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35.   The Roxy also hosts a series entitled “Trash Vault,” where the

      Roxy displays a variety of movies that generally fall within the

      genre of cult-horror films from 1980’s and 90’s and science fiction-

      horror.

36.   Many of the films portrayed in Trash Vault are rated R, and so are

      age-restricted by the Roxy, but HB 359 appears to ban those films

      outright.

37.   Trash Vault is hosted by Roxy Employee Charlotte Macorn, who is

      a transgender woman, and live accompaniments of the films

      sometimes include drag.

38.   The Roxy Theater intends to continue to the Trash Vault series.

39.   I have had conversations with Board members and employees

      about HB 359. Through these conversations, my Board and I have

      become aware that the threat of criminal and civil liability

      concerns Board members and employees.

40.   I am uncertain whether the State of Montana will enforce HB 359

      to criminally charge or penalize the Roxy Theater or its

      employees.




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41.    I am uncertain whether the State of Montana will enforce HB 359

       to force the withdrawal of the Roxy Theater’s operating license.

42.    I am uncertain whether the Roxy Theater or its employees are

       potentially liable to civil suit by any minor that has attended

       previously or will attend a showing at the Roxy Theater

       constituting a “sexually oriented performance.”

43.    The Roxy Theater and its employees are not reassessing

       programming in light of HB 359, because we are unsure how we

       can possibly comply. The law seemingly forces us to do everything

       about our business differently.

I declare under penalty of perjury that the foregoing is true and correct.

DATED this 17th day of July, 2023.


                                               /s/
                                                            Mike Steinberg
                                                      for The Roxy Theater




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